Case 2:17-cV-00198-D.]H Document 4 Filed 10/28/16 Page 1 of 2

NAME, ADDRESS & 'E`ELEPHONI€ NUMBER OF A'l'l"ORNE\/(S) FUR. OR_ Pl,AlN'i`lFl~` OR
DEFENDANT lF PhAlN'l`lFF C)R I)F.FENDANT lS PRO PER

Jodi Siegner, Esq., Bar No. 102884

Ernail address: jsiegner@deconsel.coni

DeCARLO & SHANLEY, a Prot`essional Corporation
533 S. Fremont Ave., 9th Floor

Los Angeles, CA 90071-1706

Phone:2l3~488-4100 & Fax;213~488-4l 80

A'VroRNE\/s Fo\z plaintiffs

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT ()F CALIF`()RNIA

CARPENTERS SOUTHWEST ADMINSITRATIVE
CORPORATION, a Calil`ornia non~protit
Corporaiion; et al.j

l)lamtiff($),
Vf
H K B lnc, an Arizona eorporation, doing business
as SOUTHWEST lNDUSTRlAL RIGGING;
HARRY KENT BAKER, an individual; et al., l
Delen<jant(§)

 

(`ASE NUMBER

 

CERTIFICATION AND N()TICE
OF INTERESTED PARTIES
(Local Rule 7.1»1)

 

'l`O:

THE COURT AND ALL PARTIES APPEARING ()F REC()RD;

Carpenters Southwest Adminisirative Corporation; and
Th€ undergign€d, COUHS@} erecord fm Board ot`Trustees for the Carpenters Southwest Trusts

(or party appearing in pro per), certifies that the following listed party (or parties) may have a direct, pecuniary
interest in the outcome of this case These representations are made to enable the Court to evaluate possible
disqualification or recusal (Use additional sheet ifnecessary.)

PARTY

CONNECTI()N

(liist the names of all such parties and identify their connection and interest.l

Carpenters Southwest Administrati\/e Corporation,
a Calit`ornia nonprofit corporation

Board ot`Trustees l`or the Carpenters Southwest 'l"rusts

H K B lnc,, an Arizona corporation, doing business as
Southwest lndustrial Rigging

Harry Kent Baker, an individual
Scott William i\/Iiller7 an individua§

James Douglas Wilson, an individual

DOES l through lO, inclusive

October 28, 20l6

 

PLAINTIFF

PLAINTIFF

DEFENDANT

DEFENDANT

DEFENDANT

DEFENDNAT

,_ DEFENDANT

 

 

 

Date Sign

JODE SZEGNER, Attorneys for Piaintit`fs

 

Attorney of record for or party appea§iis§, in pro per

evso roa/z oz

N{}'Z`!{fi§ 959 EN'?ER§STED PAR'§`§ES

Case 2:17-cv-00198-D.]H Document 4 Filed 10/28/16 Page 2 of 2

!»\.O 440(Re\206/12j) Sumrnons in a Civil /\ction LPage 2)

Civil Action No.

PRGOF OF SERVICE
(This section should not be fried with the court unless required by Fed. R. Civ. P. 4 (l))

Tl'tiS SUmmOHS fOI` /mzme ofmdz'w`dzmi andlit/e, ffcmy)

 

vvas received by me on (dme/

l_'] l personally served the summons on the individual at (p/ace;

 

011 (dczze) ; OI‘

 

D l left the summons at the individual’s residence or usual place ot" abode vvith memo

, a person ot`suitable age and discretion Who resides there,

 

on rdaze/ , and mailed a copy to the individual’s iast known address; or

C'l § served the summons on maine q'zmiividu@//‘ , Wiio is

 

designated by law to accept service of process on behalf of maine q!`@rg¢mi:azmn;

on (daze) ; or

 

 

l:l l returned the summons unexecuted because ; or
G Oih€? tspeeifiy.'
l\/ly fees are 3 for travei and $ for services, for a totai of$ 0_()0

l declare under penalty of perjury that this information is true.

Date:

 

 

Server ’s signalure

 

Prmied name amd title

Server 's address

Additionai information regarding attempted service, etc;

